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                    EXHIBIT A
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November 11, 2004



BY REGULAR MAIL. FAX AND EMAIL DELIVERY

Mr. Lewis Krger
Stroock & Stroock & Lavan LLP
180 Maiden Lane
New York, NY 10038

        Re: W.R. Grace & Co.

Dear Lew:

                 Wile Par & Gallagher LLP ("WP&G") represents D.K. Acquisition Parners L.P.
(''O.K.''), a substantial and active unsecured creditor ofW.R. Grace & Co. ("W.R. Grace"). D.K. is a
lender under varous credt agrements with W.R. Grace (collectively, the "Credit Agreements"). I am
writing to express D.K.'s views regaring the interest rate that should be used to calculate the accrued
and accruing pendency interest (i.e., interest accruing as of the date of the banptcy fiing and prior
to the effective date of the plan of reorganization) that must be provided to bank debt holders in any
plan of reorganization (the "Plan") proposed in the W.R. Grace bankrptcy case. D.K. urges the
offcial commttee of   unsecured creditors (the "Commttee") to insist that W.R. Grace commt to pay
the contract default rate, fied as of the date of the banptcy filng (the "Petition Date"), as the
applicable Plan rate. D.K. believes that its position is endorsed by a majority of holders of
outstanding ban debt as measurd in dollar amount and perhaps number.


               In instances where a chapter i i debtor is solvent, unsecured creditors are entitled to
receive post-petition interest on their claims before shareholders receive any distrbution. See.~, In
re Gaines, 178 B.R. 101, 103 (Ban. W.D. Va. 1995). As W.R. Grace is a solvent debtor, D.K. is
entitled to receive post-petition interest on its claim at a rate consistent with its full contractual
entitlements under undisputed credit agreements.

               Contrct Rate

               Relevant and persuasive authority supports the application of the contract rate, as
opposed to the federal judgment rate, in the calculation of postpetition interest. See,~, In re Terr
Ltd. P'ship, 27 P.3d 241,243 (7th Cir. 1994) (noting that there is a "presumption in favor of the
contract rate" when calculating post-petition interest); In re Route One W. Windsor Ltd. P'Ship, 225
B.R. 76, 86 (Bankr. D.N.J. 1998) (same); In re Dow Corning, 244 B.R. 678,696 (Bankr. E.D. Mich.




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1999) (finding that the application of        judgment rate was not "fai and equitable," as
                                                       the federal

reuired by section 1129(b) of the Banptcy Code). Moreover, in cases where the debtor is solvent,
cours have underscored the importance of creditors' contrctual rights. See In re Chicago
Milwaukee. St. Paul & Pac. RR Co., 791 F.2d 524, 528 (7th Cir. 1986) ("(IJf the banpt is solvent
the task for the banptcy cour is simply to enforce the creditors' rights according to the tenor of the
contracts that created those rights.").

               As you know, under specfied conditions, the contract rate set fort in the Credit
Agreements is not a fixed rate, but rather a floating or varable rate. i With the advent of bankrptcy,
recent and relevant authority supports D.K.'s position that the applicable interest rate be fixed and
determned as of the Petition Date for the purose of calculating pendency interest. Recent rulings in
the Dow Corning case provide guidance with respect to this issue. In an unpublished opinion dated
Marh 31, 2004, the District Court for the Eastern Distrct of  Michigan (the "District Cour") affied
the banptcy court's ruling that the non-default contrct rate should be used to calculate pendency
interest. See Case No. 01-CV-71843, March 31, 2004, Opinion and Order. The Distrct Cour
subsequently clared that, for the purpose of determning pendency interest, "the contrct rate of a
contrct with floating or varable rates was 'fed' or set at the specifc rate in effect on the date of the
filing of the petition." Case No. 0 i -CV -71843, May 18, 2004, Opinion and Order Regarding
Calculation of Pendency Interest Due.2 In reaching ths conclusion, the Distrct Court noted that
fixing the contract rate as of the banptcy fùing is consistent with the judicial practice of applying a
"set rate". Id. The Banptcy Code itself commands the result reached in Dow Cornng by makng
clear that creditors' rights are fied as of the commencement of a banptcy case. See 11 D.S.C. §
S02(b) ("(lJf (an) objection to a clai is a made, the cour. . . shall determe the amount of such
claim in lawful curency of               the United States as of     the date o/thefiling o/the petition) (emphasis
added). Banptcy is a procedure for enforcing pre-bankptcy entitlements, not a mechanism to
redistrbute contrctual entitlements to unfaily advantage common stockholders by providing the
debtor with the benefits of a floating rate of interest under defaulted (and naturally mature) credit
agreements.

                    LffOR vs. ABR

               Pursuant to the terms of the Credit Agreements, when the borrower defaults and certai
circumstances take place, the interest rate "shall be automatically converted" from LffOR to ABR
As an event of default has occured under the Credit Agreements, the proper contract rate for D.K. is
ABR. The fact that the default occurred after the Petition Date does not alter this analysis. Numerous
cours have recognized that the automatic stay in inapplicable where a contractual event occurs

         Speificaly, the Creit Agreements use both the London Interbank Offer Rate (LIBOR) and the Alternate Base
         Rate (ABR) as benchmaks.
         The Offcial Commttee of Unsecured Creditors in the Dow Coming case has fied an appeal with the Coin of
         Appeals for the Sixth Circuit based on, inter ali!! the District Court's conclusion tht the non-default interest rate
         would apply. The authorities cited below would support the Commttee's appellate poition.




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automaticaly (Le., without an affirmative act by the non-debtor par). See, M, In re Gull Air. Inc.,
890 P.2d 1255, 1261 (lst Cir. 1989); In re Trigg, 630 F.2d 1370. 1374-7S (10th Cir. 1980).

                Default Rate Interest

                Although we recognize the existence of contrar authority, in a recent trend, cours
have approved the contract default rate when the debtor is solvent. See. e.g., In re 139-141 Owners
Corn., 313 B.R. 364 (S.D.N.Y. 2004); Vanderveer Estates Holdiniis. Inc., 283 B.R. 122, 134
(E.D.N.Y. 2002) (''Te developing consensus is a presumption in favor of the contract default rate
subject to equitable considerations. . . If a debtor is solvent, there is much more leeway to grant the
default rate because other creitors wil not be injured."); In re Liberty Warhouse Associates Ltd.
P'Ship. 220 B.R. 546 (Ban. S.D.N.Y. 1998), (holding that the application of        the contract default rate
was equitable because the debtor was solvent and would be able to pay allowed unsecured claims in
full irespective of the rate at which pendency interest was paid).

                In addition to debtor solvency, court wil also look to the default rate's reasonableness
in absolute terms and in relation to the non-default rate. See Vanderveer Estates, 283 B.R. at 134; In
re Ace-Texas. Inc., 217 B.R. 719 (Bank. D. DeL. 1998). In Vanderveer Estates, the court found that a
default interest rate of 12.56%, and a differential of 5% between the default and non-default rate, was
"well withn the range of default rates that have been allowed as reasonable. .." 283 B.R. at 134; see
also In re Ace-Texas, 217 B.R. at 723-24 (noting that cours have accepted default rates that are more
than thee points higher than non-default rates).

                In the instant case, a bankptcy cour wil    likely view the application of the contract
default rate as appropriate and equitable. Pirst, W.R. Grace is solvent. Second, as set fort in the
Credit Agreements, there is a 2% diferential between the default rate and the non-default rate. Based
on the caselaw, such differential falls well within the range of reasonableness required for its approval.
Third, W.R. Grace chose to accrue, rather than seek authority to pay, interest in a case where the
market capitalization ofits equity rose from $100,000,000, in April, 2001, to $990,000,000 as of
November 2004.

               Compound Interest

                Additionally, D.K. is entitled to compound interest (i.e., interest on overdue interest
payments). Whether compound interest may be awarded to a creditor is a matter of state law. Ruskin
v. Griffiths, 269 P.2d 827, 830-32 (2d Cir. 1959); see also In re Marn Readv Mix Corp., 220 B.R.
148 (Ban. E.D.N.Y. 1998). The Ruskin court noted that "where there is a contractual provision,
valid under state law, providing for interest on unpaid insta(1ments of interest, the banptcy court
wil enforce the contractual provision with respect to both instal(iJments due before and instal(lJments
due after the petition was filed." Id. (emphasis added). The Credit Agreements are governed by New
York state law. Section 5-S27 of the New York General Obligations Law provides that in the case of




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loans, provisions providing for "compound interest shall be enforceable." NY Gen. Oblig. L. §5-527.
Accordingly, D.K. is entitled to compound interest under the Cret Agreements.

               Conclusion

               Lew, our approach is simple. There is ample case law support for adoptig a fir
negotiating postue that seeks pendency interest for lenders at the ABR default rate, fixed as of the
Petition Date. Indeed, a demand for compound contract default rate interest is not a stretch. If
concessions ultimately have to be made, we can discuss what an appropriate fal back position should
be in the broader context of overall plan negotiations and relative shifts in distrbutive value. In no
event wil D.K. tolerate -- and in fact wil oppose -- a plan that realocates distrbutable value by
providing for pendency interest at a floating LIDOR rate.

               I wil tr to speak with you prior to the next Commttee meeting, which I understand
wil be held tomorrow morning.

Sincerely,



Marc Abrams

cc: Conor Bastable
       Anthony Y oseloff




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